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                                   UNITED S T A T E S DISTRICT C O U R T
                                   NORTHERN DISTRICT OF G E O R G I A
                                         A T L A N T A DIVISION



UNITED S T A T E S O F A M E R I C A                                    C a s e No.     1:14-cr-0026-AT-3

-vs-

Thomas Pace                                                             D e f e n d a n t ' s Attorney:
                                                                        S a m u e l F e n n Little, J r .



                                  J U D G M E N T IN A C R I M I N A L C A S E
                         (For Offenses Committed On or After November 1,1987)

The defendant pleaded guilty to Count 1 of the Information with waiver of Indictment.

Accordingly, the defendant is adjudged guilty of such count which involves the following offense:

Title & Section                     Nature of Offense                                            Count No.

18 USC §371                         Conspiracy to Commit Copyright Infringement


The defendant is sentenced as provided in pages 2 through 4 of this judgment The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant shall pay the special assessment of $100 which shall be due immediately.

IT IS F U R T H E R O R D E R E D that the defendant shall notify the United States attorney for this district within
thirty days of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid.

Defendants Soc. Sec. No.            XXX-XX-4908            Date of Imposition of Sentence: March 26, 2018
Defendant's Date of Birth:          1975
Defendant's Mailing Address:        11220 Beutel Road
                                    Oregon City, Oregon 97045

Signed this the 7^"     day of March, 2018.




                                                                       AMY*TOTE|JBERG      ^
                                                                       UNITED STATES DISTRICT JUDGE
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                                                  PROBATION

The defendant is hereby placed on probation for a term of 18 MONTHS. The Probation Officer may
recommend converting the type of probation to unsupervised probation at any time, based on a record of the
defendant's compliance with the following conditions.

The defendant shall not commit another federal, state or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

                 The defendant shall refrain from any unlawful use of a controlled substance. The defendant
        shall submit to one drug test within 15 days of placement on probation and at least two periodic drug
        tests thereafter, as directed by the probation officer.

                          the above drug testing condition is suspended based on the court's determination
                          that the defendant poses a low risk of future substance abuse. (Check, if
                          appropriate.)

The defendant shall not possess a firearm as defined in 18 USC § 921.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant
pay any such fine or restitution in accordance with the Schedule of Payments set forth in the Criminal
Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth on
the attached page). The defendant shall also comply with the additional conditions set forth below.




                                 S P E C I A L CONDITIONS OF SUPERVISION

Pursuant to 42 U.S.C. § 14135a(d)(1) and 10 U.S.C. § 1565(d), which requires mandatory DNA testing for
federal offenders convicted of felony offenses, the defendant shall cooperate in the collection of DNA as
directed by the probation officer.

The defendant shall submit his person, property, house, office, residence, vehicle, papers, computer (as
defined in 18 U.S.C. § 1030(e)(1)) or other electronic communication or data storage devices or media, and
effects, to search conducted by a U.S. Probation Officer with reasonable suspicion concerning a violation of
a condition of probation or unlawful conduct by the person. Failure to submit to a search may be grounds for
revocation. The defendant shall warn any other residents that the premises may be subject to searches
pursuant to this condition. The defendant shall permit confiscation and/or disposal of any material considered
contraband or any other item which may be deemed to have evidentiary value related to violations of
supervision.

The defendant shall not illegally possess a controlled substance.

The defendant shall not own, possess or have under his control any firearm, dangerous weapon or other
destructive device.

The defendant shall perform 80 hours of community service under the guidance and supervision of the U.S.
Probation Officer. The Court recommends that this sen/ice support youth services or youth education. This
condition is to remain in effect even if the probation type is converted to unsupervised probation.
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                             STANDARD CONDITIONS OF SUPERVISION

While the defendant is on supervised release pursuant to this judgment, the defendant shall not commit
another federal, state or local crime. In addition:

1.     The defendant shall not leave the judicial district without the permission of the court or probation
       officer;

2.     The defendant shall report to the probation officer as directed by the court or probation officer and
       shall submit a truthful and complete written report within the first five days of each month;

3.     The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions
       of the probation officer;

4.     The defendant shall support his or her dependents and meet other family responsibilities;

5.     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
       schooling, training, or other acceptable reasons;

6.     The defendant shall notify the probation officer within 72 hours of any change in residence or
       employment;

7.     The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,
       distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to
       such substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests
       as directed by the probation officer to determine the use of any controlled substance;

8.     The defendant shall not frequent places where controlled substances are illegally sold, used,
       distributed, or administered;

9.     The defendant shall not associate with any persons engaged in criminal activity, and shall not
       associate with any person convicted of a felony unless granted permission to do so by the probation
       officer;

10.    The defendant shall permit a probation officerto visit him or her at any time at home or elsewhere and
       shall permit confiscation of any contraband observed in plain view by the probation officer;

11.    The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
       law enforcement officer;

12.    The defendant shall not enter into any agreement to act as an informer or a special agent of a law
       enforcement agency without the permission of the court;

13.    As directed by the probation officer, the defendant shall notify third parties of risks that may be
       occasioned by the defendants criminal record or personal history or characteristics, and shall permit
       the probation officer to make such notifications and to confirm the defendants compliance with such
       notification requirement.
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                                                     FINE

The Court finds that the defendant does not have the ability to pay a fine. The Court will waive the fine in this
case.
